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Attorney for Debtor

                         UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF IDAHO

  In re:                                                Case No. 22-00328-JMM

  TITLE PIPE, INC.,                                     Chapter 11

                         Debtor.                        PRE-STATUS CONFERENCE
                                                        REPORT


          COMES NOW, the Debtor, TITLE PIPE, INC., by and through its attorney, Patrick J.

Geile of the firm Foley Freeman, PLLC, and hereby files the Pre-Status Report pursuant to 11

U.S.C. § 1188(c).

          1.            The Debtor, by and through its counsel, has contacted both the Trustee,

Matthew W. Grimshaw, and counsel for Ventive LLC, Brent R. Wilson to determine whether or

not the parties can agree to a plan that is acceptable to Ventive LLC.

          2.         Debtor has not contacted any other Creditors in this matter, and at this point,

the Debtor believes that if Ventive LLC will agree to plan payments, the other Creditors would

follow.

          3.            It is too early, in this case, to determine whether or not the Debtor and

Ventive LLC are agreeable to a liquidation value of the debt that could be paid through a plan,




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although, both parties at this point in good faith have made efforts to meet and confer on that

point.

         DATED this 1st day of September, 2022.

                                                   FOLEY FREEMAN, PLLC


                                                   /s/ Patrick J. Geile
                                                   Patrick J. Geile
                                                   Attorney for Debtor


                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 1st day of September, 2022, I caused to be served a true
and correct copy of the foregoing document by the method indicated below, and addressed to the
following:

         Office of the U.S. Trustee                    X     CM/ECF Notice
         ustp.region18.bs.ecf@usdoj.gov

         Matthew W. Grimshaw                           X     CM/ECF Notice
         Grimshaw Law Group, P.C.
         Subchapter V Trustee
         matt@grimshawlawgroup.com

         Andrew Seth Jorgensen                         X     CM/ECF Notice
         United States Trustee Office
         andrew.jorgensen@usdoj.gov

         Steven Wieland                                X     CM/ECF Notice
         Mooney Wieland
         steven.wieland.service@mooneywieland.com

         Brent R. Wilson                               X      CM/ECF Notice
         Hawley Troxell Ennis & Hawley, LLP
         bwilson@hawleytroxell.com


                                                   /s/ Patrick J. Geile
                                                   Patrick J. Geile




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